
















IN THE COURT OF CRIMINAL APPEALS

OF TEXAS





NO. WR-61,133-03






ROGER EUGENE HIGGINS, JR., Relator


v.


THE DISTRICT CLERK OF DALLAS COUNTY, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. W89-A6337-J IN CRIMINAL DISTRICT COURT NO. 3

DALLAS COUNTY





	The order was delivered per curiam.



O R D E R




	This is an original application for a writ of mandamus.

	Relator contends that he filed an application for writ of habeas corpus in Criminal District
Court No. 3 of Dallas County, but that the application has not been forwarded to the Court of
Criminal Appeals even though more than thirty-five days have elapsed.  Relator's contentions present
a colorable claim to have prompt resolution of any grounds raised in such an application.

	It is this Court's opinion that additional information is required before a decision can be
reached.  Therefore, the Respondent, District Clerk of Dallas County, is ordered to file with this
Court within thirty days a response by submitting the record on such application or a copy of a timely
entered order designating issues to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.
Crim. App. 1992), or by stating the nature of any application filed by Relator such that it is not filed
pursuant to Article 11.07, §&nbsp;3, V.A.C.C.P., or that no application by applicant has been filed.

	IT IS SO ORDERED this the 4th day of OCTOBER, 2006.

DO NOT PUBLISH


